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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:13-cr-00242
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
SHAWN ALPHONSO HYMAN ,              )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 17, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Shawn Alphonso Hyman entered a plea of guilty to Counts One and Three of the

First Superseding Indictment in exchange for the undertakings made by the government in the

written plea agreement. In Count One, defendant is charged with conspiracy to commit bank fraud

in violation of 18 U.S.C. § 1349. In Count Three, defendant is charged with aggravated identity theft

in violation of 18 U.S.C. § 1028A. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to Counts One and Three of the

First Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: October 17, 2014                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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